      Case
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                               UNITED STATES DISTRICT COURT
                                                        Southern District of Florida
                                                            West Palm Beach Division


UNITED STATES OF AMERICA                                                JUDGMENT IN A CRIMINAL CASE
           v.
     YUJING ZHANG                                                       Case Number: 9:19-80056-CR-ALTMAN-001
                                                                        USM Number: 19820-104

                                                                        Counsel For Defendant: Robert Adler; Kristy Militello, AFPD
                                                                        Counsel For The United States: Michael Sherwin; Rolando
                                                                        Garcia, AUSA
                                                                        Court Reporter:Francine Salopek
The defendant pleaded guilty to counts one and two of the Indictment.
The defendant is adjudicated guilty of these offenses:
                                                                                                      OFFENSE
TITLE & SECTION                          NATURE OF OFFENSE                                                               COUNT
                                                                                                      ENDED
18 U.S.C. §
                                         Unlawful entry of a restricted building and grounds          3/30/2019          1
1752(a)(1),(b)(2)
18 U.S.C. § 1001(a)(2)                   Making a false statement to a federal officer                3/30/2019          2
The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.
All remaining counts are dismissed on the motion of the government.
It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed
by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States
attorney of material changes in economic circumstances.




                                                                       Date of Imposition of Sentence: 11/25/2019



                                                                       ____________________________________________
                                                                       Roy K. Altman
                                                                       United States District Judge


                                                                       Date: 11/25/2019
      Case
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DEFENDANT: YUJING ZHANG
CASE NUMBER: 9:19-80056-CR-ALTMAN-001
                                 IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 8 months as to each of counts one and two, all such terms to run concurrently.
The court makes the following recommendations to the Bureau of Prisons:
The defendant is remanded to the custody of the United States Marshal.

                                                            RETURN
I have executed this judgment as follows:




Defendant delivered on ________________________________________ to ________________________________________

at ________________________________________, with a certified copy of this judgment.




                                                              ___________________________________________
                                                              UNITED STATES MARSHAL


                                                              ___________________________________________
                                                              DEPUTY UNITED STATES MARSHAL
      Case
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DEFENDANT: YUJING ZHANG
CASE NUMBER: 9:19-80056-CR-ALTMAN-001
                               SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of 2 years. The term consist of
one year as to Count One and two years as to Count Two, to run concurrently.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least
two periodic drug tests thereafter, as determined by the court.

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

The defendant shall cooperate in the collection of DNA as directed by the probation officer.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.
                                            STANDARD CONDITIONS OF SUPERVISION
     1.    The defendant shall not leave the judicial district without the permission of the court or probation officer;
     2.    The defendant shall report to the probation officer and shall submit a truthful and complete written report within the first fifteen
           days of each month;
     3.    The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4.    The defendant shall support his or her dependents and meet other family responsibilities;
     5.    The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or
           other acceptable reasons;
     6.    The defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7.    The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8.    The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9.    The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
           convicted of a felony, unless granted permission to do so by the probation officer;
     10.   The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
           of any contraband observed in plain view of the probation officer;
     11.   The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
           officer;
     12.   The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
           the permission of the court; and
     13.   As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s
           criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
           confirm the defendant’s compliance with such notification requirement.
      Case
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DEFENDANT: YUJING ZHANG
CASE NUMBER: 9:19-80056-CR-ALTMAN-001

                                              SPECIAL CONDITIONS OF SUPERVISION

Permissible Search - The defendant shall submit to a search of his/her person or property conducted in a
reasonable manner and at a reasonable time by the U.S. Probation Officer.

Surrendering to Immigration for Removal After Imprisonment - At the completion of the defendant’s term
of imprisonment, the defendant shall be surrendered to the custody of the U.S. Immigration and Customs
Enforcement for removal proceedings consistent with the Immigration and Nationality Act. If removed, the
defendant shall not reenter the United States without the prior written permission of the Undersecretary for
Border and Transportation Security. The term of supervised release shall be non-reporting while the defendant is
residing outside the United States. If the defendant reenters the United States within the term of supervised
release, the defendant is to report to the nearest U.S. Probation Office within 72 hours of the defendant’s arrival.

Unpaid Restitution, Fines, or Special Assessments - If the defendant has any unpaid amount of restitution,
fines, or special assessments, the defendant shall notify the probation officer of any material change in the
defendant’s economic circumstances that might affect the defendant’s ability to pay.
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DEFENDANT: YUJING ZHANG
CASE NUMBER: 9:19-80056-CR-ALTMAN-001
                          CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                                    Assessment          Fine               Restitution
             TOTALS                                  $125.00            $0.00                $0.00
If the defendant makes a partial payment, each payee shall receive an approximately proportioned
payment, unless specified otherwise in the priority order or percentage payment column below. However,
pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United States is paid.
NAME OF PAYEE                                                    TOTAL LOSS*    RESTITUTION ORDERED
* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
offenses committed on or after September 13, 1994, but before April 23, 1996.
**Assessment due immediately unless otherwise ordered by the Court.
      Case
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DEFENDANT: YUJING ZHANG
CASE NUMBER: 9:19-80056-CR-ALTMAN-001
                              SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as
follows:
A. Lump sum payment of $125.00 due immediately.
Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made
through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the
court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed.
This assessment is payable to the CLERK, UNITED STATES COURTS and is to be addressed to:
U.S. CLERK'S OFFICE
ATTN: FINANCIAL SECTION
400 NORTH MIAMI AVENUE, ROOM 08N09
MIAMI, FLORIDA 33128-7716
The assessment is payable immediately. The U.S. Bureau of Prisons, U.S. Probation Office and the U.S.
Attorney's Office are responsible for the enforcement of this order.
Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate.
CASE NUMBER
                                                                                         JOINT AND SEVERAL
DEFENDANT AND CO-DEFENDANT NAMES                                 TOTAL AMOUNT
                                                                                         AMOUNT
(INCLUDING DEFENDANT NUMBER)
The Government shall file a preliminary order of forfeiture within 3 days.
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest,
(4) fine principal, (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of
prosecution and court costs.
